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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                             MOTION TO CONSOLIDATE CASES

       Defendant Stephen K. Bannon, through his undersigned counsel, respectfully moves this

Court for an Order consolidating the case styled In Re: Non-Party Subpoenas, 1:22-mc-00060-

CJN with the instant case, so that all filings in that directly related case will be part of the record

on appeal in this case. The Court consolidated the two cases for oral argument [See Minute Order

of July 6, 2022 in 1:22-mc-00060-CJN]; but the two cases have not been formally consolidated for

all purposes. It is likely that in discussing the issues to be raised on appeal in the instant case,

reference will be made to filings in that related or “spin-off” Miscellaneous case and consolidation

will facilitate the transmission of a complete record to the Court of Appeals.

       On June 13, 2022, non-party recipients of subpoenas issued by the Defendant filed a motion

to quash those subpoenas. Rather than litigating the matter in the context of the instant case, the

Court opened a directly related Miscellaneous case, solely as a vehicle for filings related to the

motion to quash. A response in opposition to the motion to quash and a reply in further support

of the motion to quash were filed in that Miscellaneous case. [Docs. 1, 7, & 8].

       As noted, the Miscellaneous case was then consolidated with the instant case for the July

11, 2022 oral argument and further pleadings related to the motion to quash and the Court’s Order



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granting it were litigated in the instant case. No final judgment was filed in the Miscellaneous

case because it was opened solely for the described limited purpose.

       Rule 42(a) of the Federal Rules of Civil Procedure expressly authorizes the consolidation

of cases with common issues of fact or law for purposes that certainly apply here; but of course,

this is a criminal case. LCr.R 57.6 provides a procedure for a non-party to follow when seeking

to make a filing related to a pending case and provides a district judge with the authority to

determine how to proceed in such a circumstance. In this case, of course, the Court decided the

best course was to open a Miscellaneous case.

       There is no question the two are related cases by any definition. Defendant is aware of no

impediment to the requested relief. The Court clearly has the authority to consolidate the two

cases and enjoys broad discretion in such matters. Hall v. Hall, -- U.S. --, 138 S. Ct. 1118, 200

L.Ed. 2d 399 (2018).

       Mr. Bannon respectfully asks the Court to consolidate the two directly related cases for all

purposes, in order to facilitate the transmission of the record on appeal and reference on appeal to

the filings in the Miscellaneous case that will be relevant to issues on appeal.



Dated: November 3, 2022                               Respectfully submitted,

                                              SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                                 /s/ M. Evan Corcoran
                                              M. Evan Corcoran (D.C. Bar No. 440027)
                                              210 N. Charles Street, 26th Floor
                                              Baltimore, MD 21201
                                              Telephone: (410) 385-2225
                                              Facsimile: (410) 547-2432
                                              Email: ecorcoran@silvermanthompson.com




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                                           /s/ David I. Schoen
                                        David I. Schoen (D.C. Bar No. 391408)
                                        David I. Schoen, Attorney at Law
                                        2800 Zelda Road, Suite 100-6
                                        Montgomery, Alabama 36106
                                        Telephone: (334) 395-6611
                                        Facsimile: (917) 591-7586
                                        Email: schoenlawfirm@gmail.com

                                        Counsel for Defendant Stephen K. Bannon


                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of November, 2022, a copy of the foregoing

MOTION TO CONSOLIDATE CASES was served via the Court’s CM/ECF system on registered

parties and counsel.


                                           /s/ M. Evan Corcoran
                                        M. Evan Corcoran (D.C. Bar No. 440027)




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UNITED STATES OF AMERICA             :
                                     :       Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:
                                       ORDER

         Upon consideration, it is hereby ORDERED that Defendant’s Motion To Consolidate

cases is GRANTED.

         SO ODERED.

                                                  ___________________________________
                                                  Hon. Carl J. Nichols
                                                  United States District Judge
Dated:




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